In this action plaintiff had judgment in the court below and defendant Ella Smith appealed. An undertaking was given to stay execution and a stay followed. Plaintiff moved to strike out the undertaking and vacate the stay. That motion was denied and this appeal was then taken. The appeal in the main case has been determined by this court and the judgment of the lower court reversed. (Bekins v. Smith et al.,ante, p. 222, [174 P. 96].) The judgment made on determining that appeal has become final. It would serve no purpose affecting the rights of the parties litigant to now take up the questions discussed as to the validity of the stay bond given in the case. Such questions have become of mere abstract interest. (Adams v. Prather et al., 176 Cal. 164, (167 P. 867].)
The appeal is dismissed.